    Case: 1:19-cv-03899 Document #: 65 Filed: 02/15/21 Page 1 of 34 PageID #:282




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ROBERT SHEAFFER,                                      )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )       Case No. 19-cv-03899
                                                      )
GLENDALE NISSAN, INC.                                 )       Honorable Sara L. Ellis
                                                      )
               Defendant.                             )

JOINT MOTION FOR RULING ON DISPUTED STATEMENTS OF MATERIAL FACT
     FOR DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendant Glendale Nissan, Inc. (“Defendant”) and Plaintiff Robert Sheaffer (“Plaintiff”),

by and through their undersigned attorneys, pursuant to the Court’s standing order on summary

judgment practice, hereby move for a ruling on five disputed statements of material fact set forth

in the Parties’ Joint Statement of Undisputed Material Facts. In support of this motion, the Parties

state as follows:

       1.      Defendant intends to file a motion for partial summary judgment as to Plaintiff’s

Title VII Hostile Work Environment claim, in which he alleges same-sex sexual harassment.1

       2.      In compliance with the Court’s standing order on summary judgment practice,

counsel for Defendant provided counsel for Plaintiff with a proposed Joint Statement of

Undisputed Material Facts. (See Exhibit A, Defendant’s draft Joint Statement of Undisputed

Material Facts.)




1
 As Defendant’s Motion for Summary Judgement is currently due on February 19, 2021 (see Dkt. No. 61),
Defendant is contemporaneously filing a motion for extension of time to file its Motion for Summary
Judgment.
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       3.      Counsel for Plaintiff objected to inclusion of five of the statements of material fact.

The parties have conferred on these five statements and have not been able to reach a resolution.

(See Exhibit B, Email correspondence between counsel for Defendant and Plaintiff.)

       4.      As set forth in more detail below, the disputed statements of material facts are

paragraphs 22, 23, 25, 26, and 27.

Paragraph 22:

       22.     Further, Plaintiff testified that he does not believe Zubek or Binner had a general

hostility toward men in the work place. Specifically, Plaintiff testified as follows:

       Q.      Do you think that Mr. Zubek’s alleged harassment of you was motivated by
               a general hostility toward men in the workplace?
       A.      I don’t know what his - - I don’t believe he had a general hostility towards
               men at the workplace.
       Q.      Do you think that Mr. Binner’s alleged harassment of you was motivated
               by a general hostility towards men in the workplace?
       A.      I don’t believe that either, no.

([Plaintiff’s Deposition Transcript], 150:3-12.)

       5.      Defendant’s position: the above fact is directly relevant to the issue of whether

the harassment alleged by Plaintiff occurred “because of” his gender. See Oncale v. Sundowner

Offshore Services, Inc., 523 U.S. 75, 80 (1998) (“a trier of fact might reasonably find such

discrimination if a female victim is harassed in such sex-specific and derogatory terms by another

woman as to make it clear that the harasser is motivated by a general hostility to the presence of

women in the workplace”) (emphasis supplied). Moreover, the above fact consists of a direct quote

from plaintiff’s own deposition testimony. (See Exhibit C, excerpts of Plaintiff’s deposition

transcript, pp. 150:3-12.)

       6.      Plaintiff’s position: the following is plaintiff’s basis to dispute this fact: Sheaffer

dep: 149.



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Paragraph 23:

        23.     Finally, Plaintiff testified that Zubek and Binner’s alleged conduct did not affect

his ability to complete his tasks. ([Plaintiff’s Deposition Transcript], 161:12-163:19.)


        7.      Defendant’s position: the above fact is relevant to the issue of whether the

harassment alleged by Plaintiff was severe or pervasive. See Faragher v. City of Boca Raton, 524

U.S. 775, 786 (1998) (the alleged harassment must be “so severe or pervasive as to alter the

conditions of the victim’s employment...”); see also Berry v. Chicago Transit Authority, 618 F.3d

688, 691 (7th Cir. 2010) (analysis of whether comments were severe and pervasive includes

“whether they unreasonably interfered with an employee’s performance”). Here, Plaintiff testified

that, despite the alleged harassment, he was “capable of doing [his] job” and was “able to complete

[his] tasks.”

        Q.      So it did not interfere with your ability to do your job at Glendale Nissan?
        …
        A.      Again, I don’t think it direct -- I’m capable of doing my job. You know,
                I’ve been doing it for a long time, so I’m -- I’m capable of doing my job.
        …
        Q.      So did – and did those things interfere with your ability to do your work on
                those days?
        A.      Again, all it did was upset me and, you know, I mean, it frustrated with me.
                I mean, it was not – I was able to complete my tasks, yes.

(Exhibit C, pp. 161:21-162:4; 163:14-19.)

        Counsel for Defendant offered to include additional testimony relevant to this issue in the

parties’ Joint Statement of Undisputed Material Facts, but counsel for Plaintiff has not provided

any proposed addition to the Joint Statement. (Exhibit B, p. 3.)




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        8.     Plaintiff’s position: the following is plaintiff’s basis to dispute this fact: Sheaffer

dep: 1362, 157, 161, 162, 178, 179, 188, 193, 203. Plaintiff further believes these comments, along

with the age comments, affected Plaintiff’s ability to do his job: 234-235.

Paragraphs 25 -27:

       25.     In fact, between January and March 2018 (the period during which Plaintiff alleges

he was sexually harassed), 77 of the 96 employees (80.2%) were male. ([Affidavit of Keith

Narozny], ¶ __.)

       26.     During the same time period, 100% of the employees in the sales and finance

departments were male. (Id., ¶ __.)

       27.     Also during that time period, all of the employees who worked at the dealership’s

“sales tower” were male. (Id., ¶ __.)

        9.     Defendant’s position: the above facts are relevant to the issue of whether Glendale

Nissan was a “mixed-sex” workplace. See Oncale, 523 U.S. at 80-81 (“a same-sex harassment

plaintiff may also…offer direct comparative evidence about how the alleged harasser treated

members of both sexes in a mixed-sex workplace”) (emphasis supplied). The facts contained in

paragraphs 25 through 27 are simply a recitation of a mathematical calculation based on the roster

of employees employed during the time frame Plaintiff alleges he was subjected to sexual

harassment. This roster has been produced to Plaintiff’s counsel and is attached hereto as Exhibit

D. A representative of Glendale Nissan will submit an affidavit verifying the accuracy of the roster.

        10.    Plaintiff’s position: Defendant has not provided the evidentiary basis for these

statements.




2
 A portion of page 136 has been designated confidential by Plaintiff and thus redacted in the attached
Exhibit C.
                                                  4
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      WHEREFORE, pursuant to the Court’s standing order on summary judgment practice, the

Parties respectfully request that the Court rule on the above disputed statements of material fact

and grant such further relief as it deems just and equitable.



 Dated: February 15, 2021                            Respectfully submitted,

 Plaintiff ROBERT SHEAFFER                           Defendant GLENDALE NISSAN, INC.

 By: /s/ _Eugene K. Hollander___________             By: /s/ Elizabeth M. Pall___________
 Eugene K. Hollander                                 Ira M. Levin
 Paul W. Ryan                                        Elizabeth M. Pall
 The Law Offices of Eugene K. Hollander              Burke, Warren, MacKay & Serritella, P.C.
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                EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ROBERT SHEAFFER,                                        )
                                                        )
                 Plaintiff,                             )
                                                        )
        v.                                              )      Case No. 19-cv-03899
                                                        )
GLENDALE NISSAN, INC.                                   )      Honorable Sara L. Ellis
                                                        )
                 Defendant.                             )


                 JOINT STATEMENT OF UNDISPUTED MATERIAL FACTS

        Pursuant to Local Rule 56.1 of the United States District Court for the Northern District of

Illinois and this Court’s Standing Order, Defendant, Glendale Nissan, Inc. and Plaintiff Robert

Sheaffer, respectfully submit the following statement of undisputed material facts in connection

with Defendant’s Motion for Summary Judgment as to Count III of Plaintiff’s Complaint.

The Parties

        1.       Glendale Nissan, Inc. (“Glendale Nissan”) is an Illinois licensed motor vehicle

dealer, located in Glendale Heights, Illinois, authorized to sell and service new and used motor

vehicles including vehicles marketed by Nissan North America, Inc. (Complaint, Dkt. No. 1, ¶ 2.)

        2.       Plaintiff Robert Sheaffer (“Plaintiff” or “Sheaffer”) is a former employee of

Glendale Nissan. (Id., ¶ 5.)

Venue and Jurisdiction

        3.       This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §§ 1331

(Id., ¶ 3.)

        4.       The alleged facts and events that form the basis of Plaintiff’s claims occurred within

this judicial district. (Id., ¶ 4.)

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Plaintiff's Employment with Glendale Nissan

       5.      Plaintiff became employed as a Finance Director at Glendale Nissan in April 2016.

(Complaint, ¶ 5; Exhibit A, Transcript of Deposition of Robert Sheaffer, p. 47:18-23.)

       6.      As Finance Director, Plaintiff’s responsibilities included supervising other

employees in the Finance Department and making sure that finance deals for vehicles were “going

through the process properly.” (Exhibit A, 62:15-23.)

       7.      Plaintiff also made recommendations with respect to the hiring and firing of

employees in the Finance Department. (Exhibit A, 64:3-66:9.)

       8.      During his employment, Plaintiff reported to General Manager Matt Douvikas,

until Mr. Douvikas left Glendale Nissan, and Director of Operations, Keith Narozny. (Exhibit A,

63:18-64:2.)

Plaintiff’s Allegations of Sexual Harassment

       9.      Plaintiff worked with General Sales Manager Mario Zubek (“Zubek”) and Sales

Manager Pete Binner (“Binner”) during the entire tenure of his employment, from April 2016 to

March 2018. (Exhibit A, p. 85:22-23.)

       10.     Plaintiff alleges that, beginning in January 2018, Zubek made comments a couple

of times a week to Plaintiff that if Plaintiff did Zubek a work-related favor, Zubek would give

Plaintiff a “blow job.” (Exhibit A, p. 128:5-8, 129:6-15, 136:7-12.) Plaintiff alleges that these

comments occurred in his office and at the “sales tower” (a desk in the showroom where the sales

managers sat.) (Id.)

       11.     Plaintiff alleges that, on a single occasion in January or February of 2018, when he

was at the sales tower, Zubek showed Plaintiff a notebook in which Zubek maintained drawings

of penises and referenced a show on Netflix in which a character kept a similar notebook. (Exhibit



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A, p. 136:12-20, 142:1-16.) Plaintiff alleged that he expressed his disgust with the notebook and

that Zubek laughed in response. (Exhibit A, pp. 142:22-143:7.)

       12.    Plaintiff also alleges that, on one occasion in January 2018, Binner put a picture of

two men having sex on the computer in his office. (Exhibit A, 130:22-131:3.)

       13.    When Plaintiff confronted Binner, Binner laughed and said “it’s kind of funny,

come on, lighten up, can’t you take a joke?” (Exhibit A, 131:20-24; 132:13-22.)

       14.    Plaintiff also alleges that Binner, while in Plaintiff’s office discussing a deal, made

a comment that he would hold Plaintiff down in the service bay and perform anal sex on him.

(Exhibit A, 136:12-19.)

       15.    When Plaintiff told Binner he did not think that Binner’s comment was funny or a

joke, Binner laughed. (Exhibit A, 135:1-6.)

       16.    Plaintiff testified that “everything was a joke at [Glendale Nissan].” (Exhibit A,

151:7-8.) Plaintiff further stated that “no one took anything seriously, no matter what it was.”

(Exhibit A, 151:14-16.)

       17.    According to Plaintiff, Zubek and Binner, joked around with “everybody.” (Exhibit

A, 154:2-19.) Zubek made fun of certain “green pea” sales persons more than experienced, well-

performing sales persons. (Exhibit A, 154:20-1:55

       18.    Plaintiff testified that he identifies as heterosexual and that many people at Glendale

Nissan had met his girlfriend, who would frequently visit the dealership. (Exhibit A, 89:13-90:5,

145:3-5.)

       19.    Plaintiff further testified that both Mario Zubek and Pete Binner were married to

women. (Exhibit A, 147:6-12, 147:3-5.)




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       20.     Plaintiff testified that he had “suspicions” that Zubek may had a romantic

relationship with another male employee of the dealership because Zubek and the other employee

“talked about sleepovers,” “joined a paintball club,” “started racing go karts,” and “they went out

and bought bicycles and uniforms together.” (Exhibit A, pp. 145:16-146:5.)

       21.     Plaintiff does not believe that Zubek and Binner’s alleged comments to him were

motivated by sexual attraction. (Exhibit A, 149:21-150:2.)

       22.     Further, Plaintiff testified that he does not believe Zubek or Binner had a general

hostility toward men in the work place. Specifically, Plaintiff testified as follows:

       Q.      Do you think that Mr. Zubek’s alleged harassment of you was motivated by
               a general hostility toward men in the workplace?
       A.      I don’t know what his - - I don’t believe he had a general hostility towards
               men at the workplace.
       Q.      Do you think that Mr. Binner’s alleged harassment of you was motivated
               by a general hostility towards men in the workplace?
       A.      I don’t believe that either, no.

(Exhibit A, 150:3-12.)

       23.     Finally, Plaintiff testified that Zubek and Binner’s alleged conduct did not affect

his ability to complete his tasks. (Exhibit A, 161:12-163:19.)

Gender Demographics At Glendale Nissan

       24.     Plaintiff testified that, during Plaintiff’s employment with Glendale Nissan, the

majority of the employees were men. (Exhibit A, 150:13-15.)

       25.     In fact, between January and March 2018 (the period during which Plaintiff alleges

he was sexually harassed), 77 of the 96 employees (80.2%) were male. (Exhibit B, Affidavit of

Keith Narozny, ¶ __.)

       26.     During the same time period, 100% of the employees in the sales and finance

departments were male. (Id., ¶ __.)



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         27.     Also during that time period, all of the employees who worked at the dealership’s

“sales tower” were male. (Id., ¶ __.)



 Dated: February __, 2021                            GLENDALE NISSAN, INC.

                                                     By:         /s/ Elizabeth M. Pall
                                                                 One of Its Attorneys

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                                                 5
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                 EXHIBIT B
            Case: 1:19-cv-03899 Document #: 65 Filed: 02/15/21 Page 13 of 34 PageID #:294


Elizabeth M. Pall

From:                              Eugene K. Hollander <ehollander@ekhlaw.com>
Sent:                              Friday, February 12, 2021 1:12 PM
To:                                Elizabeth M. Pall
Subject:                           RE: Sheaffer v. Glendale Nissan


Liz,

In response to your recent 2 e-mails, the following is our basis to dispute the 5 facts:

Par. 22: Sheaffer dep: 149

Par. 23: Sheaffer dep: 136, 157, 161, 162, 178, 179, 188, 193, 203. We further believe that these comments, along with
the age comments, affected my client’s ability to do his job: 234-235.

Regarding Par. 25-27, you have not provided me the evidentiary basis for these statements.\


Gene

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From: Elizabeth M. Pall <EPall@burkelaw.com>
Sent: Friday, February 12, 2021 12:33 PM
To: Eugene K. Hollander <ehollander@ekhlaw.com>
Cc: Ira M. Levin <ILevin@burkelaw.com>
Subject: RE: Sheaffer v. Glendale Nissan

Gene,

Enclosed is the draft motion seeking a ruling on the five disputed statements of fact. As noted below, this must be filed
as a joint motion, with each party setting forth its position on each disputed fact.

Ideally, I would like to get this on file on Monday so that it can be noticed up prior to the due date for the motion for
summary judgment. I also plan to file a contemporaneous motion for extension of time to file our motion for summary
judgment, requesting to file our motion within 14 days of the court’s ruling on our motion seeking a ruling on the
disputed facts. Please let me know if you have any objection to the extension.

Thanks,
Liz


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From: Elizabeth M. Pall
Sent: Thursday, February 11, 2021 12:42 PM
To: Eugene K. Hollander <ehollander@ekhlaw.com>
Cc: Ira M. Levin <ilevin@burkelaw.com>
Subject: RE: Sheaffer v. Glendale Nissan

Gene,

Judge Ellis’ standing order (pasted below) requires that we file a joint statement of undisputed material facts. If we
cannot agree, we have to file a motion with Judge Ellis so that she can decide whether the facts can be included. I’m
trying to understand whether we can come to some agreement with respect to Paragraphs 22, 23, and 25-27. I’ve
offered to include Sheaffer’s verbatim testimony for Paragraph 22 and include additional testimony related to Paragraph
23. I’ve also provided you with the factual basis for Paragraphs 25-27. Is it your position that we cannot come to any
agreement on any of these paragraphs? If so, I’ll prepare the motion to tee these up for Judge Ellis to decide (which also
has to be a joint motion.)

Thanks,
Liz


Motions for Summary Judgment

Motions for summary judgment and responses must comply with Local Rules 56.1(a)(1)-(2) and 56.1(b)(1)-(2), as well as
the procedures outlined herein.

Parties are required to file a joint statement of undisputed material facts that the parties agree are not in dispute. The
joint statement of undisputed material facts shall be filed separately from the memoranda of law. It shall include citations
to admissible evidence supporting each undisputed fact (i.e. the line, paragraph, or page number where the supporting
material may be found in the record). The supporting material must be attached to the joint statement. The parties may
not file – and the Court will not consider – separate statements of undisputed facts. However, the non-moving party
may include facts in its response to the motion for summary judgment that it contends are disputed in order to
demonstrate that a genuine issue of material fact exists that warrants denying the motion for summary judgment. The
non-moving party must include citations to supporting material supporting the dispute and attach the same. The moving
party may respond to these facts in its reply.

The parties shall not file more than 120 statements of undisputed material facts without prior leave of the Court. In
complex cases, the Court might request that the parties submit a timeline of events in addition to the joint statement of
undisputed material facts.

If the parties cannot agree whether proposed statements of fact are not in dispute, they may file a joint motion prior to
filing the motion for summary judgment so the Court can determine whether there is a basis for the alleged disputes. That
motion should set forth the proposed statements of fact at issue, with supporting material. Each statement should be
followed by a response by the other party explaining why that party contends that the statement is actually in dispute, with
citation to supporting material. The supporting material should be attached as exhibits to the motion. The Court will then
determine whether the proposed statements of fact may be included in the joint statement as undisputed facts. Parties
should provide the Court with sufficient time to rule on factual disputes before summary judgment motions are due. Failure
to stipulate to an undisputed fact without a reasonable basis for doing so may result in the statement being admitted
and/or the imposition of sanctions. Perfunctory objections, such as “not material” or “irrelevant,” are not reasonable bases
for failing to stipulate to an undisputed fact.




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If the nonmoving party wholly refuses to join in the joint statement of undisputed material facts, the moving party will
nevertheless be permitted to file the motion for summary judgment, accompanied by a separate declaration of counsel
explaining why a joint statement of undisputed material facts was not filed.




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From: Eugene K. Hollander <ehollander@ekhlaw.com>
Sent: Thursday, February 11, 2021 12:29 PM
To: Elizabeth M. Pall <EPall@burkelaw.com>
Subject: RE: Sheaffer v. Glendale Nissan

Liz,

We have no factual basis for 25-27. As far as the other facts, we will address them in our responsive brief. I think that I
have made my position clear.

Gene

Eugene K. Hollander
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From: Elizabeth M. Pall <EPall@burkelaw.com>
Sent: Thursday, February 11, 2021 12:16 PM
To: Eugene K. Hollander <ehollander@ekhlaw.com>
Cc: Ira M. Levin <ILevin@burkelaw.com>
Subject: RE: Sheaffer v. Glendale Nissan

Gene,

Re: paragraph 22: I’m not sure what you mean by inconsistent. I’m happy to just include the block quote from Sheaffer’s
testimony as paragraph 22, page 150:3-12.

Re: paragraph 23: please direct us to the portion of Sheaffer’s testimony (page and line number) that you believe creates
an inconsistency. Once we review that, we would consider simply adding that testimony to the joint statement of facts.

You did not provide a response with respect to paragraphs 25-27. Can we assume those can be included? If not, please
provide us with your position.

Thank you,
Liz



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From: Eugene K. Hollander <ehollander@ekhlaw.com>
Sent: Thursday, February 11, 2021 7:55 AM
To: Elizabeth M. Pall <EPall@burkelaw.com>
Subject: RE: Sheaffer v. Glendale Nissan

Liz,

Par. 22 is inconsistent in light of the discussion we had about the application of Oncale and Par. 23 is inconsistent with
other portions of his deposition testimony.

Gene

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From: Elizabeth M. Pall <EPall@burkelaw.com>
Sent: Wednesday, February 10, 2021 4:08 PM
To: Eugene K. Hollander <ehollander@ekhlaw.com>
Cc: Paul W. Ryan <pryan@ekhlaw.com>; Ira M. Levin <ILevin@burkelaw.com>
Subject: RE: Sheaffer v. Glendale Nissan

Gene,

Can you provide the basis for your disagreement with Paras 22 and 23, or suggest alternative language?

Paragraph 22 provides: “Further, Plaintiff testified that he does not believe Zubek or Binner had a general hostility toward

men in the work place. (Exhibit A, 150:3-12.)”

Mr. Sheaffer testified as follows:




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Paragraph 23 provides: “Finally, Plaintiff testified that Zubek and Binner’s alleged conduct did not affect his ability to

complete his tasks. (Exhibit A, 161:12-163:19.)”

Mr. Sheaffer testified as follows:




With respect to Paragraphs 25-27, those are simply a mathematical calculation based on the employee roster at that
time. That roster is attached. Please let me know what your objection is.

Please provide a response by Friday so that, pursuant to Judge Ellis’ standing order on summary judgment, we can get a
motion on file early next week if we cannot agree on the facts.

Thanks,
Liz



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                                                             5
                 Case: 1:19-cv-03899 Document #: 65 Filed: 02/15/21 Page 18 of 34 PageID #:299


From: Eugene K. Hollander <ehollander@ekhlaw.com>
Sent: Tuesday, February 9, 2021 2:48 PM
To: Elizabeth M. Pall <EPall@burkelaw.com>
Cc: Paul W. Ryan <pryan@ekhlaw.com>; Ira M. Levin <ILevin@burkelaw.com>
Subject: RE: Sheaffer v. Glendale Nissan

Liz,

We can agree to all facts except Par. 22, 23, 25, 26, and 27.

Gene

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From: Elizabeth M. Pall <EPall@burkelaw.com>
Sent: Friday, February 5, 2021 4:40 PM
To: Eugene K. Hollander <ehollander@ekhlaw.com>
Cc: Paul W. Ryan <pryan@ekhlaw.com>; Ira M. Levin <ILevin@burkelaw.com>
Subject: Sheaffer v. Glendale Nissan

Gene,

Enclosed please find our draft joint statement of undisputed material facts. As you know, Judge Ellis requires that we
come to an agreement on all of the material facts, or file a motion with her regarding which facts we cannot agree on.
As our motion is due February 19, 2021, please provide your comments by Wednesday, if possible.

Thank you,


Elizabeth M. Pall
Partner
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                 EXHIBIT C
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ROBERT SHEAFFER                                                         March 04, 2020

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 ·1· · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · · ·FOR THE NORTHERN DISTRICT OF ILLINOIS
 ·2· · · · · · · · · · EASTERN DIVISION

 ·3·    ·ROBERT SHEAFFER,· · · · · ·)
 · ·    · · · · · · · · · · · · · · )
 ·4·    · · · · Plaintiff,· · · · · )
 · ·    · ·vs.· · · · · · · · · · · ) No. 19-cv-03899
 ·5·    · · · · · · · · · · · · · · )
 · ·    ·GLENDALE NISSAN, INC.,· · ·)
 ·6·    · · · · · · · · · · · · · · )
 · ·    · · · · Defendant.· · · · · )
 ·7

 ·8·    · · · · The discovery deposition of
 · ·    ·ROBERT SHEAFFER, taken in the above-entitled
 ·9·    ·cause, before SUSAN HASELKAMP, Certified
 · ·    ·Shorthand Reporter for the State of Illinois, on
 10·    ·March 4, 2020, beginning at the hour of
 · ·    ·10:00 a.m. and ending at the hour of 5:13 p.m.,
 11·    ·at 330 North Wabash Avenue, 21st Floor, Chicago,
 · ·    ·Illinois, pursuant to notice.
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 22· ·Reported by: Susan Haselkamp, CSR

 23· ·License No.:· 084-004022

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·1·   · · ·A.· ·No.                                       ·1·   · · ·Q.· ·Okay.· In these other instances with
·2·   · · ·Q.· ·You just don't know one way or the        ·2·   ·Mr. Zubek where he made the same comment about
·3·   ·other?                                             ·3·   ·asking you for something in exchange for a blow
·4·   · · ·A.· ·No, I'm not aware of it.                  ·4·   ·job, when did those occur?
·5·   · · ·Q.· ·Okay.· When is the next time that you     ·5·   · · ·A.· ·Consistently probably -- up -- up until
·6·   ·were subject to sexual harassment at Glendale      ·6·   ·I got fired.
·7·   ·Nissan?                                            ·7·   · · ·Q.· ·So between early January, 2018 and
·8·   · · ·A.· ·A day or two later Pete came to my        ·8·   ·March, '18 -- March 13, 2018?
·9·   ·office, Pete Binner came to my office, told me     ·9·   · · ·A.· ·Yes.
10·   ·he wanted to hold me down in the service bay and   10·   · · ·Q.· ·And when you say consistently, how
11·   ·perform anal sex on me.                            11·   ·often was that occurring?
12·   · · ·Q.· ·What was the context to that comment?     12·   · · ·A.· ·It occurred a couple times a week.· He
13·   · · ·A.· ·I don't recall what the context of the    13·   ·then -- I was up at the sales tower and he
14·   ·comment was, but that was the statement he made    14·   ·decided -- he showed me a book of penises that
15·   ·to me in my office.                                15·   ·he draws.· He likes drawing penises.· He had an
16·   · · ·Q.· ·He just walked in and that's the first    16·   ·entire book in his -- in his desk drawer and he
17·   ·thing he said to you?                              17·   ·likes to draw them and even referenced a TV show
18·   · · ·A.· ·I believe we were talking about a deal    18·   ·on Netflix, I don't know what the name of it is,
19·   ·or whatever and he just made that comment.         19·   ·but he watches this TV show on Netflix and he --
20·   · · ·Q.· ·And you said you were in your office at   20·   ·and I -- I -- I expressed my disgust with that.
21·   ·the time?                                          21·   ·
22·   · · ·A.· ·Yes, ma'am.
23·   · · ·Q.· ·Was anyone else present?
24·   · · ·A.· ·Not that I'm aware of.

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·1·   · · ·Q.· ·What did you say to Mr. Binner?
·2·   · · ·A.· ·That's not something I joke about and I
·3·   ·don't find it funny.
·4·   · · ·Q.· ·And what did he say?
·5·   · · ·A.· ·Ha ha and he left.· He laughed as he
·6·   ·was leaving.
·7·   · · ·Q.· ·Was there anything else to that
·8·   ·conversation?
·9·   · · ·A.· ·Not that I recall.
10·   · · ·Q.· ·When was the next time you were subject
11·   ·to sexual harassment at Glendale Nissan?
12·   · · ·A.· ·A couple others times when Mario made
13·   ·the same comment with in regards to, you know,
14·   ·if you do this for me, I'll give you a blow job.
15·   ·And, again, I stressed that's not something
16·   ·that's acceptable behavior.
17·   · · ·Q.· ·So sorry, just to go back for a moment.
18·   ·Going back to the incident you just discussed
19·   ·with Pete Binner.· When did that occur, January,
20·   ·2018?
21·   · · ·A.· ·January -- end of January time frame,
22·   ·yes.
23·   · · ·Q.· ·Did you say end of January?
24·   · · ·A.· ·Yeah, probably close to January.
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·1·   ·karts, they both went out and bought racing cars   ·1·   · · ·A.· ·Yes.
·2·   ·together and outfits together.· When they went     ·2·   · · ·Q.· ·Did you ever see Pete Binner socially
·3·   ·bicycling, they went out and bought bicycles       ·3·   ·outside of work?
·4·   ·together and uniforms together.· It just seemed    ·4·   · · ·A.· ·Matt Douvikas had a graduation party
·5·   ·very strange and close.                            ·5·   ·for his son where myself, Dave Martin, Pete
·6·   · · ·Q.· ·Did you ever have any reason to believe   ·6·   ·Binner, Arben, that may have been it.
·7·   ·that Mr. Zubek and Arben, I believe last name's    ·7·   · · ·Q.· ·When was that?
·8·   ·Halipaj?                                           ·8·   · · ·A.· ·I'm sorry?
·9·   · · ·A.· ·Okay.                                     ·9·   · · ·Q.· ·When was that?
10·   · · ·Q.· ·Is that correct?                          10·   · · ·A.· ·June, July of whatever graduation is
11·   · · ·A.· ·I believe so.                             11·   ·for a kid in high school, grade school.· So it
12·   · · ·Q.· ·Were anything more than just friends?     12·   ·had to be June or -- end of -- you know, June
13·   · · ·A.· ·I don't know what the relationship was    13·   ·of '16 I believe it was.
14·   ·outside of work.· It just seemed a little close    14·   · · ·Q.· ·And was that a party at Mr. Douvikas'
15·   ·for me.                                            15·   ·house?
16·   · · ·Q.· ·Did either of them ever tell you that     16·   · · ·A.· ·Yes, ma'am.
17·   ·they were in a romantic relationship?              17·   · · ·Q.· ·Other than attending that party at
18·   · · ·A.· ·No.                                       18·   ·Mr. Douvikas' house in June of 2016, did you
19·   · · ·Q.· ·Did either of them ever tell you that     19·   ·ever interact socially with Mr. Binner outside
20·   ·they were homosexual?                              20·   ·of work?
21·   · · ·A.· ·No.                                       21·   · · ·A.· ·No.
22·   · · ·Q.· ·Other than your observations of           22·   · · ·Q.· ·Did you ever make plans to meet up with
23·   ·Mr. Zubek and Mr. Halipaj at the dealership, was   23·   ·him at the Rib Fest?
24·   ·there any other reason that you had any belief     24·   · · ·A.· ·We may have made plans to meet up at

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·1·   ·that Mr. Zubek was homosexual?                     ·1·   ·the Rib Fest, yes.
·2·   · · ·A.· ·No.                                       ·2·   · · ·Q.· ·When was that?
·3·   · · ·Q.· ·Do you have any reason to believe that    ·3·   · · ·A.· ·I don't know the year, again.· I don't
·4·   ·Pete Binner identifies as homosexual?              ·4·   ·know.
·5·   · · ·A.· ·No.                                       ·5·   · · ·Q.· ·And did you meet up with him at the Rib
·6·   · · ·Q.· ·Do you know if Mr. Zubek was in a         ·6·   ·Fest?
·7·   ·relationship at any time --                        ·7·   · · ·A.· ·No.
·8·   · · ·A.· ·He's married.                             ·8·   · · ·Q.· ·Why not?
·9·   · · ·Q.· ·-- while you were employed?               ·9·   · · ·A.· ·I don't believe we ran into each other
10·   · · ·A.· ·He's married.                             10·   ·at the Rib Fest.· I think I was there at a
11·   · · ·Q.· ·Is he married to a woman?                 11·   ·different time and he was there at a different
12·   · · ·A.· ·I believe so.                             12·   ·time.· It wasn't -- it was a very loose plan, if
13·   · · ·Q.· ·What about Mr. Halipaj, do you know if    13·   ·you will.· Like, hey, I'll see you there if
14·   ·he was in a relationship at the time you were      14·   ·you're there.
15·   ·employed?                                          15·   · · ·Q.· ·Do you think that Mr. Zubek's alleged
16·   · · ·A.· ·I believe he was never in a               16·   ·harassment of you was motivated by a sexual
17·   ·relationship while I was employed there.           17·   ·desire towards you?
18·   · · ·Q.· ·What about Mr. Binner, he was he in a     18·   · · ·A.· ·I don't know what his -- what his
19·   ·relationship?                                      19·   ·situation was.· It just was an uncomfortable
20·   · · ·A.· ·Binner -- Pete was -- he got married      20·   ·situation and I did not enjoy it at all.
21·   ·while I was working there.· He was in a            21·   · · ·Q.· ·Do you think that Mr. Binner's alleged
22·   ·relationship, he got married while I was working   22·   ·harassment of you was motivated by a sexual
23·   ·there.                                             23·   ·desire for you?
24·   · · ·Q.· ·To a woman?                               24·   · · ·A.· ·Again, I don't know what Mr. Binner was
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·1·   ·thinking.· I just -- it's not acceptable           ·1·   ·joke, a picture of him?
·2·   ·behavior.                                          ·2·   · · · · · MR. WHITE:· Objection, it calls for
·3·   · · ·Q.· ·Do you think that Mr. Zubek's alleged     ·3·   ·speculation.
·4·   ·harassment of you was motivated by a general       ·4·   · · · · · THE WITNESS:· I don't know what Vito
·5·   ·hostility towards men in the workplace?            ·5·   ·thought was funny or not.
·6·   · · ·A.· ·I don't know what his -- I don't          ·6·   ·BY MS. PALL:
·7·   ·believe he had a general hostility towards men     ·7·   · · ·Q.· ·You said Mario would draw pictures of
·8·   ·at the workplace.                                  ·8·   ·people and post them around.· What were the
·9·   · · ·Q.· ·Do you think that Mr. Binner's alleged    ·9·   ·pictures of?
10·   ·harassment of you was motivated by a general       10·   · · ·A.· ·Vito had a purple sweater on, so he
11·   ·hostility towards men in the workplace?            11·   ·drew a picture of him as Barney and put Barney's
12·   · · ·A.· ·I don't believe that either, no.          12·   ·head on it.· And he took a picture of my head
13·   · · ·Q.· ·You would agree wouldn't you that the     13·   ·and put it wrestling, fighting with one of the
14·   ·majority of the employees at Glendale Nissan       14·   ·other salespeople.
15·   ·were men, correct?                                 15·   · · · · · And he would just do all kinds of fun
16·   · · ·A.· ·Yes.                                      16·   ·pictures and would post them on his -- so
17·   · · ·Q.· ·Is that true of all the automobile        17·   ·Mario's office was -- Mario's desk was here,
18·   ·dealerships that you've worked at in your          18·   ·Keith's was here.· Mario would post them right
19·   ·career?                                            19·   ·next to him.· Right on his little wall, glass
20·   · · ·A.· ·It does seem to be the case.· It's a      20·   ·wall right here.
21·   ·male oriented group, yes.                          21·   · · ·Q.· ·Okay.· Anything else that you would
22·   · · ·Q.· ·When you were working at Glendale         22·   ·kind of describe as locker room banter or jokes
23·   ·Nissan, was there what I would describe as kind    23·   ·that would go on at the dealership?
24·   ·of locker room banter amongst employees, maybe     24·   · · ·A.· ·I mean, as I said, sales management,

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·1·   ·calling someone a name or anything like that?      ·1·   ·everything was a joke so.
·2·   · · · · · MR. WHITE:· I object to form and          ·2·   · · ·Q.· ·And I'm trying to understand what you
·3·   ·foundation.                                        ·3·   ·mean by everything was a joke.· Other than
·4·   · · · · · THE WITNESS:· Yes.                        ·4·   ·posting the pictures of, you know, of other
·5·   ·BY MS. PALL:                                       ·5·   ·employees --
·6·   · · ·Q.· ·What kind of locker banter occurred?      ·6·   · · ·A.· ·How they treated salespeople, how they
·7·   · · ·A.· ·Everything was a joke at that store,      ·7·   ·treated situations, how they treated customers.
·8·   ·everything was a joke.                             ·8·   ·All that was a joke.
·9·   · · ·Q.· ·What do you mean?                         ·9·   · · ·Q.· ·How so?
10·   · · ·A.· ·They would -- Mario would draw pictures   10·   · · ·A.· ·Indian customers were left to walk
11·   ·of people and place them on the wall and it was    11·   ·around the store quite a few times.· No one took
12·   ·a joke, it was funny.· Everything was a joke.      12·   ·care of them, they would make fun of it.
13·   ·So anything that was -- should have been taken     13·   · · ·Q.· ·You said Indian --
14·   ·seriously, was a complete and utter joke.· No      14·   · · ·A.· ·Indian customers, yes.
15·   ·one took anything seriously, no matter what it     15·   · · ·Q.· ·Okay.
16·   ·was.                                               16·   · · ·A.· ·A salesperson would come up not knowing
17·   · · · · · They took a doll of -- God, I can't       17·   ·where he was going with a deal and stuff like
18·   ·think of his name right now.· My mind -- Vito      18·   ·that and they would pick on him for not knowing
19·   ·and attached it to a dartboard and were throwing   19·   ·what he's doing or he doesn't know how to do his
20·   ·darts at it and they thought that was funny.· So   20·   ·job, things of that nature.· The same comments
21·   ·yeah, there's all kinds of fun stuff that they     21·   ·were made to me, you don't know how to do your
22·   ·were doing.· It was something that the sales       22·   ·job, you don't know how to use a computer, you
23·   ·management did up at top.                          23·   ·know.· These were comments that were just thrown
24·   · · ·Q.· ·Did Vito think that that was a funny      24·   ·around like it was -- like they were candy in
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·1·   ·the store.                                         ·1·   ·were people that were joked around with more?
·2·   · · ·Q.· ·And did Mario do that to everyone at      ·2·   · · ·A.· ·They were made fun of more.
·3·   ·the store?                                         ·3·   · · ·Q.· ·Made fun of more.· By Mario?
·4·   · · ·A.· ·The entire management team did that to    ·4·   · · ·A.· ·Yes.
·5·   ·everybody.                                         ·5·   · · ·Q.· ·Anyone else in addition to CJ and
·6·   · · ·Q.· ·Okay.                                     ·6·   ·Emilio who you recall were made fun of by Mario?
·7·   · · · · · MR. WHITE:· Objection to form and         ·7·   · · ·A.· ·Again, I don't remember all the
·8·   ·foundation.                                        ·8·   ·salespeople's names.· That's going back three
·9·   ·BY MS. PALL:                                       ·9·   ·years.
10·   · · ·Q.· ·So is it the case, Mr. Sheaffer,          10·   · · ·Q.· ·Okay.
11·   ·that -- well, actually, let me back up.            11·   · · ·A.· ·So yes, there were a group.· I mean, if
12·   · · · · · You said the entire management team.      12·   ·I had a name list, I could possibly say this
13·   ·So who else in addition to Mr. Zubek would         13·   ·person, this person.· But I don't remember the
14·   ·engage in that kind of behavior?                   14·   ·names of everybody.· I mean, there's 20-some odd
15·   · · ·A.· ·Keith, Mario, Pete Binner, Jim Urso who   15·   ·salespeople there.· And in the interim, people
16·   ·was a sales manager there before for a period of   16·   ·came and went so.
17·   ·time and then they brought in Vince and -- they    17·   · · ·Q.· ·And is it your testimony that it was
18·   ·all -- the whole management team, it was all a     18·   ·kind of based on performance whether they were
19·   ·joke.                                              19·   ·joked around with more?
20·   · · ·Q.· ·And would they joke around with all       20·   · · ·A.· ·Performance, sure; if they liked them,
21·   ·employees?                                         21·   ·sure; if they didn't like them, sure.· I mean,
22·   · · · · · MR. WHITE:· Objection to foundation and   22·   ·it all depended on what they were doing at that
23·   ·form.                                              23·   ·point.
24·   · · · · · THE WITNESS:· I think there were          24·   · · ·Q.· ·Okay.· Did this joking around on behalf

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·1·   ·particular ones they joked around with more.       ·1·   ·of Mario and the other managers occur during
·2·   ·BY MS. PALL:                                       ·2·   ·your entire tenure at Glendale Nissan?
·3·   · · ·Q.· ·Who was that?                             ·3·   · · ·A.· ·Yes.
·4·   · · ·A.· ·CJ, Emilio maybe.· I don't remember all   ·4·   · · ·Q.· ·Did you ever say anything to any of the
·5·   ·the names of the salespeople, so I apologize.      ·5·   ·managers who were joking around with employees
·6·   ·But there were -- there were ones that were        ·6·   ·that -- about that?
·7·   ·favorites, Orlando being a favorite.· Orlando      ·7·   · · ·A.· ·Yeah.· They've gone too far and don't
·8·   ·was a very good sales person, sold a lot of        ·8·   ·do that, I mean, it's not something you do.
·9·   ·cars.· No one really kind of messed with Orlando   ·9·   · · ·Q.· ·When did you do that?
10·   ·because Orlando could sell cars and he did a       10·   · · ·A.· ·I don't have any specific incidents.
11·   ·very good job and that was across the board, you   11·   · · ·Q.· ·Okay.· Who did you say that to?
12·   ·just -- no one messed with him.                    12·   · · ·A.· ·The management sitting at that desk.
13·   · · · · · But there was -- you could walk up a      13·   · · ·Q.· ·Who was that?
14·   ·tower and they're, you know, messing with a        14·   · · ·A.· ·Mario, Keith, Pete, Jim Urso, the other
15·   ·salesperson over what he did or how he handled a   15·   ·sales manager, I don't remember what it was. I
16·   ·situation.· Mainly a green pea salesperson that    16·   ·don't -- Vince really wasn't involved a lot in
17·   ·would start and didn't know what he -- what        17·   ·that part of it but it pretty much came from,
18·   ·the -- how to do his job, there was zero           18·   ·you know, the group sitting right there in the
19·   ·training for these people, but yet they would      19·   ·front there.
20·   ·make fun of how they handled themselves.           20·   · · ·Q.· ·And you told them that their jokes were
21·   · · ·Q.· ·Okay.· And you mentioned CJ and Emilio.   21·   ·going to far?
22·   ·Are those salespeople?                             22·   · · ·A.· ·Yes.· And then when Arben became a
23·   · · ·A.· ·Yes, ma'am.                               23·   ·sales manager, it escalated even more.
24·   · · ·Q.· ·And are you saying that they -- they      24·   · · ·Q.· ·When Arben Halipaj became a sales
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·1·   ·manager?                                           ·1·   · · ·A.· ·Yes.
·2·   · · ·A.· ·Yes.                                      ·2·   · · ·Q.· ·Okay.· In what way did you think they
·3·   · · ·Q.· ·In what way did it escalate?              ·3·   ·were going to far?
·4·   · · ·A.· ·Well, Arben was a -- was a salesperson    ·4·   · · ·A.· ·Just they were -- you don't abuse a
·5·   ·who was -- I don't know what word I want to use    ·5·   ·salesperson, you don't abuse people.· These are
·6·   ·to describe him, but was a salesperson that        ·6·   ·grown adults who have families to feed.
·7·   ·intimidated a lot of salespeople.                  ·7·   · · ·Q.· ·Did you ever joke around with other
·8·   · · · · · In fact, when he was promoted to sales    ·8·   ·employees?
·9·   ·manager, a lot of the people were surprised he     ·9·   · · ·A.· ·Everyone jokes around with other
10·   ·was promoted to sales manager because of his       10·   ·employees.· But I joked around with them in a
11·   ·situations and how he handled the situations and   11·   ·normal fashion that wasn't disgusting or out of
12·   ·how he handled the customers and things of that    12·   ·place.
13·   ·nature.· It was kind of a shock to everybody.      13·   · · ·Q.· ·How did you joke around with employees?
14·   · · ·Q.· ·You said Arben intimidated other          14·   · · ·A.· ·I don't have a specific incident.
15·   ·salespeople?                                       15·   · · ·Q.· ·How is the way that others -- let's say
16·   · · ·A.· ·Yes.                                      16·   ·Mario, for example, how is the way that he was
17·   · · ·Q.· ·In what way?                              17·   ·joking around with people out of place?
18·   · · ·A.· ·There was one salesperson that he         18·   · · ·A.· ·His jokes were direct and they were
19·   ·needed one more car to get his bonus for the       19·   ·very vicious.
20·   ·month of an RDR and Arben went and bought that     20·   · · ·Q.· ·Can you provide an example?
21·   ·RDR from another salesperson and made it a joke    21·   · · ·A.· ·Again, obviously just the pictures
22·   ·that he stole the RDR from the guy, that he        22·   ·of -- drawing pictures of people and putting
23·   ·wouldn't make that point.                          23·   ·them on Snapchat, I think is what it's called,
24·   · · ·Q.· ·Can you explain that?· I'm not sure I     24·   ·Snapchat and things of those natures and just

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·1·   ·understand.                                        ·1·   ·the way he talked to people is, you know -- it
·2·   · · ·A.· ·RDR is a retail delivery report --        ·2·   ·just was not -- it was not appropriate.
·3·   · · ·Q.· ·Okay.                                     ·3·   · · ·Q.· ·How is it not appropriate?
·4·   · · ·A.· ·-- that they've RDR'd the car in your     ·4·   · · ·A.· ·Talking down to them, talking to them
·5·   ·name.· So CJ was the salesperson, Arben was the    ·5·   ·like they're stupid, making fun of them because
·6·   ·salesperson.· Arben -- CJ needed one more car      ·6·   ·they may be stupid or didn't know what was going
·7·   ·and that gave him a bonus from Nissan.· I don't    ·7·   ·on in a situation.
·8·   ·know all the intricacies because I'm not a         ·8·   · · ·Q.· ·With respect to the book of penises
·9·   ·salesperson at this point.· So Arben went and      ·9·   ·that you allege Mr. Zubek showed you, did he
10·   ·made sure he bought that RDR from a salesperson    10·   ·post those around the dealership?
11·   ·so he could not get his bonus and made a joke of   11·   · · ·A.· ·No.· They were just in a notebook.
12·   ·it and thought it was funny.· Another              12·   · · ·Q.· ·Going back to the instances you allege
13·   ·salesperson got in --                              13·   ·that Mr. Zubek sexually harassed you.· Did that
14·   · · · · · MR. WHITE:· Wait for the question.        14·   ·alleged harassment interfere with your ability
15·   · · · · · THE WITNESS:· Sorry.                      15·   ·to do your work at Glendale Nissan?
16·   ·BY MS. PALL:                                       16·   · · ·A.· ·It severely bothered me.
17·   · · ·Q.· ·Go ahead.· You were going to provide an   17·   · · ·Q.· ·Did it interfere with your ability to
18·   ·example of another salesperson?                    18·   ·do your work?
19·   · · ·A.· ·Another salesperson with Arben where      19·   · · ·A.· ·Well, it interfered with my personal
20·   ·the salesperson did something that Arben didn't    20·   ·life and sleep and things of that nature, yes.
21·   ·like and he took him out in the back to try to     21·   · · ·Q.· ·So it did not interfere with your
22·   ·have a fight with him.                             22·   ·ability to do your job at Glendale Nissan?
23·   · · ·Q.· ·Okay.· And is Arben one of the people     23·   · · · · · MR. WHITE:· Objection.· Objection, it
24·   ·that you told their jokes were going to far?       24·   ·misstates testimony.· You can answer.
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·1·   · · · · · THE WITNESS:· Again, I don't think        ·1·   ·sexual assault but he grabbed me in a sexual
·2·   ·it direct -- I'm capable of doing my job.· You     ·2·   ·manner where he actually put a rib out of -- out
·3·   ·know, I've been doing it for a long time, so       ·3·   ·of place.
·4·   ·I'm -- I'm capable of doing my job.                ·4·   · · ·Q.· ·So I'm sorry, you don't believe it was
·5·   ·BY MS. PALL:                                       ·5·   ·a sexual manner?
·6·   · · ·Q.· ·Sure.· How did it interfere with your     ·6·   · · ·A.· ·I don't believe it was a sexual manner,
·7·   ·personal life?                                     ·7·   ·I think it was more aggressive than anything
·8·   · · ·A.· ·Lack of sleep, depression, frustration.   ·8·   ·else.
·9·   · · ·Q.· ·Did you see any medical providers about   ·9·   · · ·Q.· ·Okay.· Where were you at the time of --
10·   ·those symptoms, lack of sleep, depression,         10·   ·of this incident?
11·   ·frustration?                                       11·   · · ·A.· ·Sales tower.
12·   · · ·A.· ·No.                                       12·   · · ·Q.· ·And when was this?
13·   · · ·Q.· ·Did you take any medication?              13·   · · ·A.· ·I don't recall the dates.· Again, early
14·   · · ·A.· ·No.                                       14·   ·January, January, February area.
15·   · · ·Q.· ·Did Mr. Binner's alleged sexual           15·   · · ·Q.· ·January, February, 2018?
16·   ·harassment of you interfere with your ability to   16·   · · ·A.· ·Yes, ma'am.
17·   ·do your job at Glendale Nissan?                    17·   · · ·Q.· ·What were you doing immediately before
18·   · · ·A.· ·It just caused me stress that day         18·   ·this incident?
19·   ·and -- and, you know, it was -- I don't know --    19·   · · ·A.· ·Probably working in my office, coming
20·   ·I can't tell you that in the long term.· But for   20·   ·up to the desk.
21·   ·that day, it definitely stressed me out and        21·   · · ·Q.· ·Were you talking to anyone?
22·   ·upset me that day, yes.                            22·   · · ·A.· ·I was -- I came up to the tower to talk
23·   · · ·Q.· ·And by that day, you're referring to      23·   ·to somebody about something, I don't recall what
24·   ·the one day that he put the photo on your          24·   ·it was.· It could have been about a deal, it

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·1·   ·computer?                                          ·1·   ·could have been a question, whatever.
·2·   · · ·A.· ·Both times when he approached me with     ·2·   · · ·Q.· ·Do you recall who you were talking to
·3·   ·the situations, it was -- it was way beyond any    ·3·   ·at the time?
·4·   ·spectrum of any normalcy.                          ·4·   · · ·A.· ·Probably it was Mario or -- or Pete
·5·   · · ·Q.· ·And so those two situations are first     ·5·   ·Binner.· Whoever was at the desk at that point.
·6·   ·the photo --                                       ·6·   ·I don't remember exactly who it was.
·7·   · · ·A.· ·Yes, ma'am.                               ·7·   · · ·Q.· ·So you don't recall precisely who you
·8·   · · ·Q.· ·-- on your computer; and second, the      ·8·   ·were speaking to at the time?
·9·   ·comment during the discussion about taking you     ·9·   · · ·A.· ·No.
10·   ·out back?                                          10·   · · ·Q.· ·And what did Arben do?
11·   · · ·A.· ·Into the service department.              11·   · · ·A.· ·He -- so I was standing like this.
12·   · · ·Q.· ·And so those are the two instances?       12·   ·Arben came up to me on this side over here and
13·   · · ·A.· ·Yes, ma'am.                               13·   ·then rapped his arms around me as much as he
14·   · · ·Q.· ·So did -- and did those things            14·   ·could and lifted me up like this.
15·   ·interfere with your ability to do your work on     15·   · · ·Q.· ·So for the record, he came up to your
16·   ·those two days?                                    16·   ·right side?
17·   · · ·A.· ·Again, all it did was upset me and, you   17·   · · ·A.· ·Right side.
18·   ·know, I mean, it frustrated with me.· I mean, it   18·   · · ·Q.· ·And kind of gave you a bear hug?
19·   ·was not -- I was able to complete my tasks, yes.   19·   · · ·A.· ·Not frontal, not -- side.· From the
20·   · · ·Q.· ·Okay.· Are you alleging in this case      20·   ·side.· So from my right side, he literally
21·   ·that you were sexually assaulted by Arben          21·   ·picked me up from my right side and squeezed as
22·   ·Halipaj?                                           22·   ·hard as he could and then leaned back into it.
23·   · · ·A.· ·I am saying he grabbed me in an           23·   · · ·Q.· ·Were both of his arms around both of
24·   ·aggressive manner.· I don't believe it was         24·   ·your arms?
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·1·   · · · · · MR. WHITE:· We can short circuit.· You    ·1·   · · ·A.· ·Two or three times.
·2·   ·said several, he said consistently.                ·2·   · · ·Q.· ·When was the last time?
·3·   · · · · · MS. PALL:· Okay.· I don't know that       ·3·   · · ·A.· ·Probably late February, mid-February.
·4·   ·that's -- I'm -- so let me -- let me rephrase my   ·4·   · · ·Q.· ·So let's take the first time that you
·5·   ·question.                                          ·5·   ·talked to Keith about this.· Where were you?
·6·   ·BY MS. PALL:                                       ·6·   · · ·A.· ·I think it was the sales tower, sales
·7·   · · ·Q.· ·With respect to the incidents that you    ·7·   ·tower.
·8·   ·alleged wherein Mario Zubek told you that he       ·8·   · · ·Q.· ·At Glendale Nissan?
·9·   ·would give you a blow job, did you ever complain   ·9·   · · ·A.· ·Yeah.
10·   ·to anyone at Glendale Nissan --                    10·   · · ·Q.· ·Was anyone else present?
11·   · · ·A.· ·Yes.                                      11·   · · ·A.· ·I don't recall.
12·   · · ·Q.· ·-- about that conduct?                    12·   · · ·Q.· ·What did you say to Keith?
13·   · · ·A.· ·Yes.                                      13·   · · ·A.· ·I told him that, you know, he's telling
14·   · · ·Q.· ·Who?                                      14·   ·me he'll give me a blow job if I get a better
15·   · · ·A.· ·Keith.                                    15·   ·deal for him.· And he says, it's a joke, come
16·   · · ·Q.· ·Anyone else?                              16·   ·on, lighten up.· He's just joking around.
17·   · · ·A.· ·No.· Probably Dave but, I mean, he        17·   · · ·Q.· ·And what did you say to Keith?
18·   ·works with me.                                     18·   · · ·A.· ·It's not a joke, but it's pretty much
19·   · · ·Q.· ·Dave Martin?                              19·   ·in the conversation.
20·   · · ·A.· ·Yes, ma'am.                               20·   · · ·Q.· ·Was there anything else to that
21·   · · ·Q.· ·Anyone else?                              21·   ·conversation?
22·   · · ·A.· ·Dan Gutierrez.                            22·   · · ·A.· ·Not much more.
23·   · · ·Q.· ·Anyone else?                              23·   · · ·Q.· ·What about the second time you talked
24·   · · ·A.· ·I don't know if Linda was there or the    24·   ·to Keith about it, where were you?

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·1·   ·previous office manager was there.· Whoever was    ·1·   · · ·A.· ·Again, it's the same situation.· Hey,
·2·   ·the office manager at that time, I'm not quite     ·2·   ·this guy keeps making goofy comments, it's
·3·   ·sure which one it was.                             ·3·   ·ridiculous.· Oh, he's just joking around,
·4·   · · ·Q.· ·Anyone else?                              ·4·   ·everything is a joke, don't worry about it.
·5·   · · ·A.· ·That's it.                                ·5·   · · ·Q.· ·Where were you for that conversation?
·6·   · · ·Q.· ·And Dave Martin and Dan Gutierrez were    ·6·   · · ·A.· ·That may have been -- that probably was
·7·   ·people that worked for you --                      ·7·   ·in the tower or in my office, I'm not sure.
·8·   · · ·A.· ·Yes, ma'am.                               ·8·   · · ·Q.· ·Was anyone else present?
·9·   · · ·Q.· ·-- correct?                               ·9·   · · ·A.· ·I don't recall.
10·   · · · · · When did you complain to Keith about      10·   · · ·Q.· ·What about the third time that you
11·   ·Mr. Zubek --                                       11·   ·talked to Keith about this, where were you?
12·   · · ·A.· ·I think --                                12·   · · ·A.· ·Similar situation.
13·   · · · · · MR. WHITE:· Wait for the question.        13·   · · ·Q.· ·Where were you?
14·   ·BY MS. PALL:                                       14·   · · ·A.· ·I don't recall whether it was my office
15·   · · ·Q.· ·-- informing you or telling you that he   15·   ·or whether it was in -- you know, but I mean, a
16·   ·would give you a blow job?                         16·   ·similar situation, it was a joke, everyone -- it
17·   · · ·A.· ·Again, probably the second or third       17·   ·was a joke, don't worry about it, lighten up.
18·   ·time it happened.                                  18·   · · ·Q.· ·All these conversations were in person?
19·   · · ·Q.· ·When was that, approximately?             19·   · · ·A.· ·Yes, ma'am.
20·   · · ·A.· ·I don't know the exact dates.             20·   · · ·Q.· ·And they were all either at the sales
21·   · · ·Q.· ·Again, would this be January, 2018?       21·   ·tower or in your office?
22·   · · ·A.· ·January, 2018.                            22·   · · ·A.· ·Yes, ma'am.
23·   · · ·Q.· ·On how many occasions did you speak to    23·   · · ·Q.· ·And you don't recall whether anyone
24·   ·Keith about this issue?                            24·   ·else was present for any of those conversations?
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·1·   · · ·Q.· ·Did she say anything else?                ·1·   ·the president of the company?
·2·   · · ·A.· ·That's pretty much it.                    ·2·   · · ·A.· ·I've never talked to Bill Slevin in the
·3·   · · ·Q.· ·Did you say anything else?                ·3·   ·two years I worked there.
·4·   · · ·A.· ·I don't remember any more of the          ·4·   · · ·Q.· ·Did you ever ask anyone for his phone
·5·   ·conversations.                                     ·5·   ·number?
·6·   · · ·Q.· ·Was anyone else present for those         ·6·   · · ·A.· ·No.
·7·   ·conversations?                                     ·7·   · · ·Q.· ·Or an e-mail address?
·8·   · · ·A.· ·The girl that sits right outside of her   ·8·   · · ·A.· ·No.
·9·   ·office, I don't remember her name.· She may have   ·9·   · · ·Q.· ·Did you ever make a complaint about
10·   ·overheard the conversation, I don't know.          10·   ·Mr. Binner putting the picture on your computer?
11·   · · ·Q.· ·She was not in the office?                11·   · · ·A.· ·Yes.
12·   · · ·A.· ·She was not in the office, no.            12·   · · ·Q.· ·Who did you complain to?
13·   · · ·Q.· ·Was the door open when you made --        13·   · · ·A.· ·I went to Mario.· And, again, that
14·   · · ·A.· ·Yes, it was.                              14·   ·became a joke.
15·   · · ·Q.· ·-- these comments?                        15·   · · ·Q.· ·Did you complain to anyone other than
16·   · · ·A.· ·Yes.                                      16·   ·Mario?
17·   · · ·Q.· ·What was the position of the girl that    17·   · · ·A.· ·I believe I told Keith about it.
18·   ·sits outside --                                    18·   · · ·Q.· ·Anyone else?
19·   · · ·A.· ·She was our biller.                       19·   · · ·A.· ·That's it.
20·   · · · · · MR. WHITE:· You've got to slow down.      20·   · · ·Q.· ·When did you tell Mario about the
21·   ·Wait for the question to finish.                   21·   ·incident?
22·   · · · · · THE WITNESS:· I'm sorry.· She was our     22·   · · ·A.· ·Right after it happened.· Specifically
23·   ·biller.                                            23·   ·he just put something on my desktop that was
24·   ·BY MS. PALL:                                       24·   ·inappropriate.

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·1·   · · ·Q.· ·But you don't recall her name?            ·1·   · · ·Q.· ·So right after you noticed the image on
·2·   · · ·A.· ·No.                                       ·2·   ·your desktop, you went to Mario?
·3·   · · ·Q.· ·Were you dissatisfied with the response   ·3·   · · ·A.· ·Uh-huh.
·4·   ·that you got from Keith when you complained        ·4·   · · ·Q.· ·Is that a yes?
·5·   ·about Mr. Zubek's conduct?                         ·5·   · · ·A.· ·Yes, ma'am.
·6·   · · ·A.· ·It was made to be a joke.                 ·6·   · · ·Q.· ·And what did Mario say?
·7·   · · ·Q.· ·I'm sorry?                                ·7·   · · ·A.· ·He laughed at it, thought it was a
·8·   · · ·A.· ·It was made to be a joke.                 ·8·   ·joke.
·9·   · · ·Q.· ·What do you mean it was made to be a      ·9·   · · ·Q.· ·Where did this conversation occur?
10·   ·joke?                                              10·   · · ·A.· ·At the tower.
11·   · · ·A.· ·The comment that I made was made to be    11·   · · ·Q.· ·Was anyone else present?
12·   ·a joke.· It was laughed at, it was scoffed at.     12·   · · ·A.· ·I don't recall who else was present.
13·   · · ·Q.· ·You're saying Mr. Narozny scoffed at      13·   ·Probably Arben.
14·   ·your comment?                                      14·   · · ·Q.· ·Why do you think Arben was present?
15·   · · ·A.· ·It was just -- it was just more of it's   15·   · · ·A.· ·Because Arben was always where Mario
16·   ·a joke, don't worry about it, man up.              16·   ·was.
17·   · · ·Q.· ·Did you escalate that complaint to        17·   · · ·Q.· ·Do you have a specific recollection of
18·   ·anyone else?                                       18·   ·Arben being part of this conversation or being
19·   · · ·A.· ·I thought talking to the office manager   19·   ·close to this conversation?
20·   ·would escalate it but it went nowhere.· So I       20·   · · ·A.· ·I think he was sitting at the desk
21·   ·mean, it's, you know, the old preaching to the     21·   ·there, but I don't remember much more than that.
22·   ·choir conversation, you complain and nobody does   22·   · · ·Q.· ·Was Arben a part of the conversation
23·   ·anything.                                          23·   ·with Mario?
24·   · · ·Q.· ·Did you ever escalate the complaint to    24·   · · ·A.· ·He made a comment about how it was
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·1·   ·funny and to lighten up and, you know, it was a    ·1·   ·was when the image was put on your computer?
·2·   ·joke.· Just a joke, everything's a joke.           ·2·   · · ·A.· ·I want to say Wednesday or Thursday.
·3·   · · ·Q.· ·And how did you respond?                  ·3·   · · ·Q.· ·Okay.· And where did this conversation
·4·   · · ·A.· ·I told him it was disgusting and it's     ·4·   ·with Keith take place?
·5·   ·unacceptable.· I believe I showed Mr. Gutierrez,   ·5·   · · ·A.· ·Again, at the tower with the entire
·6·   ·Dan Gutierrez the picture, too.· I said, this is   ·6·   ·bunch up there, the whole group.
·7·   ·what he just put on my computer.                   ·7·   · · ·Q.· ·Who was there?
·8·   · · ·Q.· ·When did you show the image to            ·8·   · · ·A.· ·Mario, Keith, Arben, Pete.· I don't
·9·   ·Mr. Gutierrez?                                     ·9·   ·know if the used car manager was there.· I don't
10·   · · ·A.· ·Once I got in my office and saw my        10·   ·know if the used car manager was -- I don't
11·   ·computer screen like that.                         11·   ·know --
12·   · · ·Q.· ·I'm sorry.                                12·   · · ·Q.· ·Who was the used car manager?
13·   · · ·A.· ·Once I walked into my office, I sat       13·   · · ·A.· ·I don't know if it was Vince at that
14·   ·down at my desk and there's my computer screen     14·   ·point.· I don't know who it was at that point.
15·   ·with this image on it.                             15·   ·It may have been -- I don't know.· It may have
16·   · · ·Q.· ·And my question is when did you show      16·   ·been Vito, I don't remember.
17·   ·Mr. Gutierrez the image?                           17·   · · ·Q.· ·Anyone else that you recall being
18·   · · ·A.· ·Right after I walked into my office. I    18·   ·there --
19·   ·called him into my office to show it to him.       19·   · · ·A.· ·No.
20·   · · ·Q.· ·Okay.· Who else did you show it to, if    20·   · · ·Q.· ·-- for that conversation?
21·   ·anyone?                                            21·   · · ·A.· ·No.
22·   · · ·A.· ·I want to say I showed it to Mario but    22·   · · ·Q.· ·And tell me what you said to Keith and
23·   ·I don't recall if I did or not.                    23·   ·what he said to you?
24·   · · ·Q.· ·Okay.· Was there anything other --        24·   · · ·A.· ·I told him I've got a picture of two

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·1·   ·anything else to the conversation that you had     ·1·   ·guys having sex on my desktop, and it became a
·2·   ·with Mario about the image, other than what        ·2·   ·joke again.
·3·   ·you've just testified to?                          ·3·   · · ·Q.· ·And what did Keith say?
·4·   · · ·A.· ·Not that I recall.                        ·4·   · · ·A.· ·You've got to lighten up, man, it was a
·5·   · · ·Q.· ·Okay.· And you said that you may have     ·5·   ·joke.· Don't take these things so seriously.
·6·   ·told Keith about the image?                        ·6·   · · ·Q.· ·Did you say anything else to Keith?
·7·   · · ·A.· ·I know -- I believe I told you about      ·7·   · · ·A.· ·When you start being made fun of making
·8·   ·the image but it was a joke again.                 ·8·   ·a -- making a complaint, you don't stand there
·9·   · · ·Q.· ·When did you tell Keith about the         ·9·   ·very long.· You leave.
10·   ·image?                                             10·   · · ·Q.· ·So did you say anything else to Keith?
11·   · · ·A.· ·That Saturday.                            11·   · · ·A.· ·I believe I just left after that.
12·   · · · · · MR. WHITE:· Bob, Bob.                     12·   · · ·Q.· ·And, again, you've already testified
13·   · · · · · THE WITNESS:· Sorry.                      13·   ·you didn't tell anyone other than Mario and
14·   · · · · · MR. WHITE:· It's going to mess up the     14·   ·Keith about the image that Mr. Binner allegedly
15·   ·microphones.                                       15·   ·put on your computer --
16·   · · · · · THE WITNESS:· Sorry.                      16·   · · ·A.· ·Well, I definitely approached --
17·   ·BY MS. PALL:                                       17·   · · ·Q.· ·-- correct?
18·   · · ·Q.· ·The Saturday following the date on --     18·   · · ·A.· ·I definitely approached Pete Binner on
19·   · · ·A.· ·Yes.                                      19·   ·the image.
20·   · · ·Q.· ·-- which the image was put on your        20·   · · ·Q.· ·Okay.· And if you could just -- I know
21·   ·computer?                                          21·   ·you're trying, but wait until I finish my
22·   · · ·A.· ·Yeah.· That would have been the next      22·   ·question --
23·   ·time I would have seen Keith would be Saturday.    23·   · · ·A.· ·Okay.· Sorry.
24·   · · ·Q.· ·Do you recall what day of the week it     24·   · · ·Q.· ·-- before you start to answer.
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·1·   · · ·Q.· ·Okay.· Thank you.· And how soon after     ·1·   ·conversations with lawyers.
·2·   ·Mr. Binner's alleged comments did you have these   ·2·   · · · · · MR. WHITE:· Yeah, don't talk about
·3·   ·conversations with Dave and Dan and Rebecca?       ·3·   ·stuff you talked about with lawyers.
·4·   · · ·A.· ·That day or -- again, if Dan wasn't       ·4·   · · · · · THE WITNESS:· Okay, all right.· Sorry.
·5·   ·there that day, it would have been the next day.   ·5·   ·BY MS. PALL:
·6·   · · ·Q.· ·Okay.· So within 24 hours?                ·6·   · · ·Q.· ·Other than your lawyers, Keith, Dave
·7·   · · ·A.· ·Within 24 hours.                          ·7·   ·Martin, Dan Gutierrez and your girlfriend -- did
·8·   · · ·Q.· ·Okay.· Is there anyone else you told      ·8·   ·I -- did I get those names switched up?
·9·   ·about Mr. Binner's comment other than Dave         ·9·   · · · · · Other than Keith, Dave Martin, Dan
10·   ·Martin, Dan Gutierrez and Rebecca, the BDC         10·   ·Gutierrez and your girlfriend and your lawyers,
11·   ·manager?                                           11·   ·is there anyone else that you told about Mario's
12·   · · ·A.· ·My girlfriend.                            12·   ·notebook?
13·   · · ·Q.· ·When did you tell your girlfriend?        13·   · · ·A.· ·No.
14·   · · ·A.· ·That day, that time it happened.          14·   · · ·Q.· ·Okay.· Starting with the conversation
15·   · · ·Q.· ·And where were you for that               15·   ·with Keith.· When did that happen?
16·   ·conversation?                                      16·   · · ·A.· ·With what -- with regards to what?
17·   · · ·A.· ·In my office.                             17·   · · ·Q.· ·With respect to telling Keith about the
18·   · · ·Q.· ·She had come into the dealership?         18·   ·notebook, when did that conversation take place?
19·   · · ·A.· ·I believe I called her.                   19·   · · ·A.· ·About the same time all this other took
20·   · · ·Q.· ·And what did you say to her?              20·   ·place, around that same time.
21·   · · ·A.· ·Exactly what had happened, what he said   21·   · · ·Q.· ·Was this part of another conversation
22·   ·to me.                                             22·   ·you were already having with Keith?
23·   · · ·Q.· ·I'm sorry?                                23·   · · ·A.· ·No.· The same conversation.
24·   · · ·A.· ·What he said to me.                       24·   · · ·Q.· ·So it was part of the same conversation

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·1·   · · ·Q.· ·And what did she say?                     ·1·   ·you had with Keith about what else?
·2·   · · ·A.· ·That's disgusting.· I said, I agree, I    ·2·   · · ·A.· ·About the blow job conversations.
·3·   ·can't believe somebody would say that to           ·3·   · · ·Q.· ·Okay.· How many conversations did you
·4·   ·somebody.                                          ·4·   ·have with Keith about the notebook?
·5·   · · ·Q.· ·Was anyone else present on the call       ·5·   · · ·A.· ·I believe one.
·6·   ·that you're aware of?                              ·6·   · · ·Q.· ·And it occurred somewhere in or around
·7·   · · ·A.· ·No.                                       ·7·   ·January, 2018?
·8·   · · ·Q.· ·So other than telling Dave Martin, Dan    ·8·   · · ·A.· ·January, '18 to February, yes. I
·9·   ·Gutierrez, Rebecca, the BDC manager, and           ·9·   ·believe that one happened like early -- late
10·   ·girlfriend about Pete's alleged comments, did      10·   ·January, early February.
11·   ·you tell anyone else about those comments?         11·   · · ·Q.· ·Late January or early February --
12·   · · ·A.· ·No.                                       12·   · · ·A.· ·Yes, ma'am.
13·   · · ·Q.· ·Did you ever complain to anyone about     13·   · · ·Q.· ·-- 2018?
14·   ·Mr. Zubek showing you the book -- the notebook     14·   · · ·A.· ·Yes, ma'am.
15·   ·he had of penises?                                 15·   · · ·Q.· ·And where did that conversation take
16·   · · ·A.· ·I believe I said to Keith that he had     16·   ·place?
17·   ·shown that to me.                                  17·   · · ·A.· ·At the tower.
18·   · · ·Q.· ·Is there anyone you told other than       18·   · · ·Q.· ·Who else was present?
19·   ·Keith?                                             19·   · · ·A.· ·I don't know.
20·   · · ·A.· ·My girlfriend, Dave Martin, Dan           20·   · · ·Q.· ·Was anyone else present?
21·   ·Gutierrez.                                         21·   · · ·A.· ·No, I don't remember.
22·   · · ·Q.· ·Anyone else?                              22·   · · ·Q.· ·And to the best of your recollection,
23·   · · ·A.· ·My lawyers.                               23·   ·what did you say to Keith and what did he say to
24·   · · ·Q.· ·I don't want to know about your           24·   ·you?
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                 EXHIBIT D
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               Employees Employed Between 1/1/2018 and 3/13/2018
                                         Home Department
Employee Name
                                         Number                    M/F
CINTRON, LAUREN A                        AP CLERK                  F
CANALES, MARIZZA J                       BDC REPERSETNATIVE        F
TORRES, BEATRIZ B                        BDC REPERSETNATIVE        F
MICHALIK, JONATHAN M                     BDC REPERSETNATIVE        M
GRANGER, BRIANNA J                       BDC REPERSETNATIVE        F
BALONIER, REBECCA                        BDC REPERSETNATIVE        F
BONILLA, KARINA                          BDC REPERSETNATIVE        F
VALENTINO, RACHEL M                      BILLING CLERK             F
SHREWSBURY, MEGAN R                      CASHIER                   F
CHRONOWSKI, MARY K                       CASHIER                   F
DUNTEMAN, HEATHER J                      CASHIER                   F
PATTERSON, FRANCES E                     CLERICAL OFFICE           F
GIOIA, YOLANDA L                         CLERICAL OFFICE           F
O'DONNELL, MARTIN J                      CONTOLLER                 M
SHEAFFER, ROBERT A                       FINANCE MANAGER           M
GUTIERREZ, DANIEL                        FINANCE MANAGER           M
MARTIN, DAVID N                          FINANCE MANAGER           M
ZUBEK, MARIUSZ                           FINANCE MANAGER           M
ADKINS, JANICE L                         OFFICE MANAGER            F
YENDER, LINDA R                          OFFICE MANAGER            F
DOUGAN, KRISTEN D                        OFFICE MANAGER            F
STOLTZ, CHARLES                          PARTS COUNTER             M
HOOD, DANIEL E                           PARTS COUNTER             M
DELEON, ALDO                             PARTS COUNTER             M
PEARCE, CASEY                            PARTS COUNTER             M
RUIZ-SERNA, ALBERTO                      PARTS COUNTER             M
ANTONIAN, ALBERT V                       PARTS MANAGER             M
HALL, ROBERT                             PARTS MANAGER             M
BEGAJ, LUIS                              PORTER                    M
DORADO, ROGELIO                          PORTER                    M
SALAZAR, CHRISTIAN P                     PORTER                    M
BARBOSA, JOSE A                          PORTER                    M
SANDERS, JUSTIN M                        PORTER                    M
GUTIERREZ JR, RICK V                     PORTER                    M
LOPEZ-NUNEZ, JOSHUA                      PORTER                    M
SOTO, LUIZ A                             PORTER                    M
SIERRA, KALEB M                          PORTER                    M
GUTIERREZ ORTA, ANTONIO DE JESUS         PORTER                    M
CORRAL, EDDIE                            PORTER                    M
PEDROZA, WILLIAM S                       PORTER                    M
HURTADO, JUAN J                          PORTER                    M
MURILLO, ALEJANDRO                       PORTER                    M
VENCES, JESUS                            PORTER                    M
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                                  Home Department
Employee Name
                                  Number                  M/F
NEVAREZ, LUIS                     PORTER                   M
GARCIA, ARMANDO                   PORTER                   M
RAMIREZ, JORGE                    PORTER                   M
SANCHEZ VENCES, J MERCED          PORTER                   M
BERRUM-GRACIAS, MARTIN            PORTER                   M
BRADFIELD, JACOB E                PORTER                   M
SLEVIN, WILLIAM A                 PRESIDENT                M
CHAVEZ, JORGE J                   SALES MANAGER            M
MORENO, VINCENTE J                SALES MANAGER            M
BINNER, PETER                     SALES MANAGER            M
IBRAHIM, UTHMAN A                 SALES MANAGER            M
HERNANDEZ, JOSHUA M               SALESMAN                 M
PANTAZOPOULOS, PETER N            SALESMAN                 M
BALDERAS, WILLIAM D               SALESMAN                 M
BRYNIARSKI, SIMON                 SALESMAN                 M
TRAN, KEVIN                       SALESMAN                 M
CABRERA, EMALIEL                  SALESMAN                 M
MANN, BARRY M                     SALESMAN                 M
TRINIDAD, HENRY                   SALESMAN                 M
BATALLAS, JAIME                   SALESMAN                 M
GUAJARDO, VICTOR M                SALESMAN                 M
SILVA, ORLANDO                    SALESMAN                 M
SHARLOW, BEN                      SALESMAN                 M
JAVADI, BAHRAM                    SALESMAN                 M
DELGADO, ROLANDO                  SALESMAN                 M
HUTCHESON, JAMES W                SERVICE DIRECTOR         M
FELIPE, EDGAR E                   SERVICE WRITER           M
BIRDSELL, BRUCE R                 SERVICE WRITER           M
FIOCCOLA, GIOVANNI B              SERVICE WRITER           M
VARGAS, EDGARDO                   SERVICE WRITER           M
ABRON, KYNYATA M                  SERVICE WRITER           F
SHIREMAN, JEFFREY A               SERVICE WRITER           M
PERREAULT, KEVIN T                SERVICE WRITER           M
GARAY, EMMANUEL                   SERVICE WRITER           M
HOLDA, ANNA                       SERVICE WRITER           F
DIPPING, CHRISTOPHER M            SERVICE WRITER           M
FELDMAN, CHRISTOPHER M            TECH                     M
GARCIA, DANIEL I                  TECH                     M
SAENZ, HEDILBERTO                 TECH                     M
MUNOZ, HERNAN                     TECH                     M
ESPOSITO, MATTHEW D               TECH                     M
BARNES, AKIN J                    TECH                     M
RODENBOSTEL, NEAL                 TECH                     M
WOOLLARD, STEVE G                 TECH                     M
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                                  Home Department
Employee Name
                                  Number                              M/F
HERNANDEZ, ADAM                   TECH                                M
GARRAMONE, ANDREW J               TECH                                M
STROUD, JEREMY C                  TECH                                M
RODRIGUEZ, CARLOS                 TECH                                M
RODRIGUEZ, JUAN R                 TECH                                M
RODRIGUEZ, DANIEL                 TECH                                M
CARLIN, JEAN                      TITLE CLERK                         F
MCMULLIN, DOROTHY J               TITLE CLERK                         F
NAROZNY, KEITH                    OPERATIONS DIRECTOR                 M


                                  Total Employees                             96
                                  Male Employees                              77
                                  Female Employees                            19
                                  Percent male                            80.2%




                                  Total Sales and Finance Employees
                                                                             22
                                  Male Sales and Finance Employees
                                                                             22
                                                                          100%
